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                      UNITED STATES COURT OF APPEALS                       FILED
                             FOR THE NINTH CIRCUIT                          SEP 27 2022
                                                                        MOLLY C. DWYER, CLERK
                                                                         U.S. COURT OF APPEALS
  STEPHANIE CLIFFORD, AKA Stormy                  No.   20-55880
  Daniels,
                                                  D.C. No.
                  Plaintiff-Appellant,            2:18-cv-06893-JLS-FFM
                                                  Central District of California,
   v.                                             Los Angeles

  DONALD J. TRUMP,                                ORDER

                  Defendant-Appellee.

  Before: S.R. THOMAS, WARDLAW, and NGUYEN, Circuit Judges.

        Appellee’s motion for attorneys’ fees on appeal is GRANTED. The

  determination of an appropriate amount of fees is referred to the Appellate

  Commissioner, who shall conduct whatever proceedings she deems appropriate,

  and who shall have authority to enter an order awarding fees. See 9th Cir. R. 39-

  1.9. The order is subject to reconsideration by the panel. Id.



  IT IS SO ORDERED.
